Case 3:24-cv-02311-TSH   Document 36-2   Filed 09/17/24   Page 1 of 13




                 EXHIBIT B
                      Case 3:24-cv-02311-TSH                         Document 36-2                     Filed 09/17/24                 Page 2 of 13




Results for: "San Francisco International Ai r port "                    Natural Language "          17°   .Q.


 Cases                         736
                                      e   Ca lifornia   X) ( Colorado x) (Connecticut X) ( Districto/Columbia x) ( Flori da x) (Georgia X) [ Morev                         Clea r       *
 Statutes and Legislation     1,549

 Practical Guidance
                                                                                                            Group duplicates:   F     v     Sort by:     Date (Newest -Oldest)      v

 Secondary Materia ls          228

 Administrative Materials     1,553

 News                       10,000+          10
                                                         Fremont man faces 20 years for alleged assault on flight
                                                        The San Francisco Chronicle (California)           Sep 14, 2024     313 words I Aid in Vazi ri     A, NEWS
 More


                                                         Body
 Search Within Resu lts 0       V




Location by Publication
                                                             ... According to an affidavit fi led w ith the Just ice Depart ment, Salva alleged ly tampered with
                                                                oxygen masks and an overhead compartment during the flight from John Wayne A irport to ~
 Geography by Document
                                                             Francisco International Airport on Monday. He then alleged ly began yelling obscenities at the
                                                                crew, including statements like, "We are all going to he ll," and "This airplane is going down!"
Publicati on Type               V
                                                                according to federal officials.... V iew excerpt


 Subject


 Industry
                                             20
                                                         Devices powered by batteries overheating, often on planes
                                                         Orlando Sentinel (Florida) I Sep 14, 2024          442 words     David Koenig Associated
T imel ine                                               Press I BUSINESS


 Subscript ion                                           Body



Negative News
                                                                                       T
                                                                                       ....
                                                                                        *
                                                             ... In Ju ly, a smok ing lapt op in a passenger's bag led to the evacuation of a plane awaiting takeoff
 Sources                                                        at San Francisco International Airport . Last year, a fligh t from Da llas to Orlando , Florida ,
                                                             made an emergency land ing in Jacksonvil le , Florida , after a battery caught fire in an overhead
Language                                                     bin.... V iew excerpt


Practice Area & Topics



People                          V
                                             30
                                                         Stuck During Tech Crash, Flying Solo
                                                         The New York nmes I Sep 14, 2024 I 2226 words I By Christine Chung I Section B
Keyword

                                                         Body


                                                                                                                 ~
Publisher


Exclus ions 0
                                                                                                                 *
                                                             ... Linda Vogel , flying United, said she received a $12 voucher at San Francisco International
                                                             Airport , "which almost paid for my bagel." Stuck in Calgary for two days, Peter La Grand and
                                                             his three children, aged 13 and younger, received vouchers for one hotel room -- which had
                                                                only one bed-- and eight mea ls.... V iew excer pt




                                             40          Stranded in the CrowdStrike Meltdown: 'No Hotel, No Food, No
Case 3:24-cv-02311-TSH Document 36-2                             Filed 09/17/24                  Page 3 of 13
                    Assistance'
                   The New York Times Sep 13, 2024 I 2231 words I Christine Chung Christi ne Chung is a Ti mes
                   reporter covering airlines and consumer travel. TRAVEL


                   Body

                                                                       T
                                                                       ....
                                                                        *
                         ... Li nda Vogel, flying Un ited, said she received a $12 voucher at San Francisco International
                         Airport , "w hich almost pa id for my bagel." Stuck in Ca lgary for t wo days, Peter La Grand and his
                         t hree children, aged 13 and younger, received vouchers for one hotel room - which had on ly
                         one bed- and eight meals.... View excerpt




              so   California Man Assaulted Frontier Flight Attendants,
                   Prosecutors Say
                   The New York Times I Sep 12, 2024 I 824 words I Orl ando Mayorqu in Orlando
                   Mayorqu&amp;#237;n is a breaking news reporter, based in New York, and a member of the 2023-24
                   Ti mes Fellowship class, a program for journalists early in their careers. I US


                   Body

                                   ~
                                   I,,;

                                   *
                         ... , bound for San Francisco International A irport and resulted in an emergency landing at
                         Ontario International Airport, about 30 miles northeast of Santa Ana. The plane had not yet
                         reached 10,000 feet when fligh t attendants noticed the that oxygen masks above seats in Row
                          18 had deployed, according to a probable cause affidavit flied in the criminal complaint. ... View
                         excerpt




              60
                   Waymo's Robot Taxis Are Almost Mainstream but Still Lose
                   Money
                   The New York Times I Sep 10, 2024 I 1062 words I By Eli Tan I Section B


                   Body

                                                                                       ]
                                                                                        *
                         ... Waymo cu rrent ly stewards passengers to and f rom Phoenix Sky Harbor International
                         Airport, and is in ta lks to expand into San Francisco International Airport , accord ing to emails
                         v iewed by The New York Times. But large cities also present challenges like chaotic t raffic,
                         stricter regulations and competition with pub lic t ransportat ion .... V iew excerpt




              70
                   SFO-bound flight diverted due to smoky smell
                   The San Francisco Chronicle (California)         Sep 09, 2024      216 words I Maliya Ellis   A, NEWS


                   Body

                     1
                     l!i
                     *
                         ... A Southwest flight bound for San Francisco International A irport was diverted t o Ontario
                          Internationa l Airport in Southern California on Saturday evening after the smell of smoke was
                         detected in t he ai rcraft, accord ing to Southwest Ai rlines. ... V iew excerpt




                   Are Apple AirTags a help or a hindrance? Tracking devices can
Case 3:24-cv-02311-TSH Document 36-2 Filed 09/17/24 Page 4 of 13
                    help recover stolen property. Do police think it's a good idea?
                       Los Ange les Times I Sep 08 , 2024 I 1085 words I Karen Garcia I CALIFORNIA


                       Body




                            ... A team in San Francisco Internat iona l A irgo rt 's police division that specia lizes in baggage

                            theft recommends that airport passengers use devices such as AirTags because they increase
                            "the ability for the items to be recovered, along with the prosecution of the perpetrator(s),"
                            SF Gate reported .... V iew excerpt




                 90
                       Legalizing prostitution solves problem
                       The San Francisco Chronicle (California)        Sep 05, 2024          742 words I A, OPED


                       Body




                            ... Unless you claim taxis have gone back to being a shuttle service between downtown and
                            Fisherman's Wharf hotels and the San Francisco International A ir gort , there is no reason w hy
                            a taxi ride might not compete with Muni. Proposition Lis the next round of the San Francisco
                            government's sweetheart deal with the taxi business and its vendetta against Uber and Lyft....
                            View excerpt




                10 0
                       Waymo's Robot Taxis Are Almost Mainstream. Can They Now
                       Turn a Profit?
                       The New York nmes Sep 04 , 2024 I 1118 words I Eli Tan Eli Tan is a reporter covering the
                       technology industry and a member of the 2024-25 Times Fellowship class, a prog ram fo r journalists
                       early in thei r careers. I TECHNOLOGY


                       Body


                                                                                      ...i
                                                                                       *
                            ... Waymo current ly stewa rds passengers to and from Phoenix Sky Harbor International
                            Airport, and is in talks to expand into San Francisco Internationa l Airpart , accord ing to emails
                            viewed by The New York Times. But large cities also present challenges like chaotic t raffic,
                            stricter regulations and competition with pub lic transportation .... V iew excerpt




                11 0
                       Bay Area workers strike at seven hotels
                       The San Francisco Ch ronicle (California) I Sep 03, 2024 I 59 1 words I Ro land Li I A, NEWS


                       Body

                          T
                          I.I
                          *
                            ... Nearly 2.500 hotel workers at fou r of downtown San Francisco's largest hotels, two in San
                            Jose and one by San Francisco International Airport went on strike for three days starting
                            Sunday in the city's biggest wa lkout since 2018. In San Francisco, 2,080 Unite Here Local 2
                            union members are seeking better wages and benefits after labor contracts expired in August
                            and the Bay Area's cost of living has continued to soar.... View excerpt




                       Findin2 Solitude Amid the Crowds
Case 3:24-cv-02311-TSH
               12 LJ -         Document 36-2
                       -------- g   -   -   - - - - -- - - -    - -- - ---        Filed 09/17/24
                                                                             - -- -    -   -   -   - - - --               Page 5 of 13
                     The New York Times I Sep 01 , 2024 I 1565 words I By Francesca Specter I Section F


                     Body

                                                                     [
                                                                     *
                         ... Harvey Mi lk Terminal 1 at San Francisco International A irport , whose fina l section opened
                         in June, is one at Ms. 1-'eavey's examples. HK.'i designed the term inal to include a row at lounge
                         chai rs looking out to the fl ight line. The seats are buffered from behind by a tall planter that
                         prevents ot her t ravelers from getting too close.... V iew excerpt




              13 0
                     When to expect the worst holiday traffic
                     The San Francisco Chronicle (California)                          Aug 31 , 2024              334 words I Ricardo Cano I A, NEWS


                     Body


                                                                                                                              oc
                                                                                                                              *
                         ... Travelers taking to the skies shou ld prepare for high volumes of crowds t his weekend at ~
                         Francisco International Airpart and San Francisco Bay Oakland International Airport. SFO
                         expects to see more than 930,000 passengers travel through the airport from Thursday to
                         Tuesday, about 9% higher t han last year's Labor Day weekend .... V iew excerpt




              14 0
                     For Solo Explorers, a Solitude-Friendly 'Paradise' Amid the
                     Crowds
                     The New York Times I Aug 29, 2024 I 1728 words I Francesca Specter I STYLE


                     Body
                                                               ,.,
                                                               !
                                                               *
                         ... Harvey Mi lk Terminal 1 at San Francisco International Airport , whose fina l section opened
                         in June, is one of Ms. Peavey's examples. HKS designed the terminal to include a row of lounge
                         chai rs looking out to the fl ight line. The seats are buffered from beh ind by a tall planter that
                         prevents other travelers from getting too close .... View excerpt




              15 0
                     Salesman for Moving Company That Held Goods Hostage Gets
                     2-Year Sentence
                     The New York Times I Aug 28, 2024 I 893 words                                      Colin Moynihan        NYREGION


                     Body

                                                                                                                  m
                                                                                                                  ...,
                                                                                                                   *
                         ... One member of that group was taken into custody in 2018 at San Francisco International
                         Airport while on his way to Mexico. Mr. Moroz, the main architect of the Brooklyn-based scam,
                         managed to make good his own escape, according to The Daily News, which reported last yea r
                         that he was be lieved to be hiding in Israel .... View excerpt




              16 0
                     Sarni, a German shorthaired pointer, wins TSA's 'cutest canine'
                     of2024
                     The Washington Times                Aug 27, 2024                 401 words               Stephen Dinan    POLITICS
Case 3:24-cv-02311-TSH           Document 36-2                     Filed 09/17/24                  Page 6 of 13
                     Body

                       ""
                       ~
                       •
                            ... A 5-year-old explosives detection dog who works at San Francisco International Airport has
                            won the Transportation Security Admin istration's "cutest can ine" distinction. Barni, a German
                            shorthai red pointer, beat out t hree other finalists in social media voting to take the honor in t he
                            contest, wh ich the TSA runs annually as a way to reward and draw positive attention to the
                            dogs that help keep the skies safe.... View excerpt




              17 0
                     Inside View: Stop. Think. Then Speak
                     The Wall Street Journal       Aug 26, 2024      790 words I By Andy Kessler I Pg. A 15


                     Body




                            ... At San Francisco International Airport, just after the 1988 Seoul Olympics, I was stand ing at
                            the American A ir lines ticket counter and recognized a tall , lean guy next to me picking up
                            t ickets. Whoa, I thought, that's swimmer Matt Biondi. ... V iew excerpt




              18 0
                     Airline says error caused diversion
                     The San Francisco Chronicle (California)          Aug 18, 2024      266 words I Aid in Vaziri    A, NEWS


                     Body

                       i
                       ~
                       •
                            ... An Alaska Airlines flight from San Francisco International Airport to Jackson Hole, Wyo.,
                            was unexpected ly diverted to Sa lt lake City last week after the pilot informed passengers of
                            his lack of qualifications to land at t he intended destination .... V iew excerpt




              19 0
                     Another SFO-Rome flight by United forced to divert
                     The San Francisco Chronicle (Cal ifornia)         Aug 16, 2024      200 words I Aidin Vaziri and Jessica
                     Flores I A, NEWS


                     Body


                                                           ...,
                                                           •
                            ... According to aviation records, the flight touched down at Edmonton International Airport
                            approximately 61/2 hours after its 4:49 p.m. departure from San Francisco International
                            Airport . The remainder of the flight was canceled, leaving 265 passengers and 14 crew
                            members to ret urn to San Francisco at 3:26 a.m. on Thursday. The spokesperson did not specify
                            if passengers were rebooked on alternate flights to Rome . ... V iew excerpt




              20 0
                     Rome-bound United Airlines flight out of SFO diverted to
                     Sacramento
                     The San Francisco Chronicle (California) I Aug 15, 2024 I 104 words I Maliya Ellis I A, NEWS


                     Body
                      Case 3:24-cv-02311-TSH                       Document 36-2                    Filed 09/17/24                 Page 7 of 13




Results for: "San Francisco I nternationa l Ai r po r t "              Natu ra l La nguage "      17°   .Q.


 Cases                          736
                                       e   Cal ifornia   X) ( Colorado x) (Connecticut X) ( Districto/Columbia x) ( Florida x) (Georgia X) [ Morev-                  Clea r    *
 Statutes and Legislation      1,549

 Practical Guidance
                                                                                                         Group duplicates:   Off   v-    Sort by:   Date (Oldest-Newest)      v-

 Secondary Materials            228

 Administrative Materials      1,553

 News                        10,000+          10
                                                          CITIES: 'Big Apple West'
                                                          Newsweek Sep 01 , 1975 628 words JIM CALIO with SUSAN AGR EST and WI LLIAM J. COOK
 More                                                     in San Francisco I NATIONAL AFFAIRS; Pg 20


 Search Within Resu lt s 0       V
                                                          Body



 Location by Publication
                                                              ... When the firemen joined the strikers. nervous officials at San Francisco In ternational
 Geography by Documen t                                       Ai rport scrounged up 35 volunteers, gave them four hours of crash train ing and formed an
                                                              emergency fire department. Stick-ups: There was relatively little trouble during t he strikes ....
 Publication Type                V'                           View excerpt


 Subject


 Industry
                                              20
                                                          PATTY'S DEFENSE
                                                          Newsweek Mar 01, 1976 4037 words              TOM MATH EWS with WI LLIAM J. COOK in San
 Timel ine                                                Francisco I NATIONAL AF FAIRS; Pg 20


 Subscript ion                                            Body

                                                                           I
                                                                           I.I
 Negat ive News                                                            *
                                                              ... Only the faintest signals from the outside world reached her - the bell of an ice cream truck

 Sou rces                                                     and the rumble of jets descending toward San Francisco Internat ional A irport . The rest of the
                                                              t ime a radio blared strident music outside the closet door and she could hear the snapping of
                                                              gun bolts. "They'd make noises like they were shooting," she recalled .... V iew excerpt
 Language


 Practice Area & Topics


 People                          V
                                              30
                                                          Bailey Loses His Cool
                                                          Newsweek Mar 15, 1976 1571 words              TOM MATHEWS with WI LLIAM J. COOK in San
                                                          Francisco I NATIONAL AF FAIRS; Pg 24
 Keyw ord

                                                          Body
 Publi sher
                                                            T
 Excl usions 0                                               *
                                                              ... He bolted for the door, sped off to San Francisco International Airpart, donned sunglasses,
                                                              settled behind the controls of his turbo-prop - and soared off toward Las Vegas at 300 miles an
                                                              hour. Three hours and several calm ing Scotches later, he stood behind a lectern in a hotel out
                                                              on The Strip. discussing the delicate arts of trial advocacy.... View excerpt




                                                          SAN FRANCISCO: Going Dry
Case 3:24-cv-02311-TSH         Document 36-2                   Filed 09/17/24                 Page 8 of 13
                   Newsweek Ap r 18, 1977 772 words SUSAN FRAKER with WI LLIAM J_COOK in San
                   Francisco I NATIONAL AF FAIRS; Pg. 32


                   Body

                                      T
                                      I.I

                                       *
                      ... Every fifteen minutes, the PA system at San Francisco Internat ional Airport broadcasts a
                      recorded message: "Due t o t he water shortage, all persons are requested t o conserve wat er in
                      every way possible whi le in t he airport and the California area . ... View excerpt




              so   The Cocaine Scene
                   Newsweek I May 30, 1977 I 2642 words I RI CHARD STEELE with SUSAN AGREST in New York ,
                   SYLVESTER MONROE in Chicago , PAU L BRINKLEYROGERS in Los Angeles , STEPHAN LESHER
                   in Washington and bureau reports I NATIONAL AFFA IRS ; Pg. 20


                   Body

                                                                                                         T
                                                                                                         I.I
                                                                                                         •
                      ... Customs agents and DEA officials have found cocai ne sewn into an antique rug being
                      imported by a 74-year-o ld woman , in a cage fu ll of boa constrictors and pythons, in aerosol
                      cans, in scuba divers' oxygen tanks, in diplomatic pouches and in bottles of Scotch (when t he
                      liquor is poured into a pan and evaporates, t he cocaine remains).NO EBB IN THE FLOW Last
                      year, DEA officials seized 571 pounds - up f rom 295 pounds in 1972.At San Francisco
                          Internat ional Airport , the number of cocaine-smuggling arrests has increased 150 pe r cent in
                      the last t hree years. About 60 pe r cent of the cocaine seized by A merican officials is confiscated
                      in Puerto Rico or Florida , and last year in Tampa, customs offi cials intercepted 181 pounds-
                      worth $40 million at street prices - hidden on board a freighter arriving from Colombia . ...
                      View excerpt




              60
                   TRAVEL; Summer Stampede
                   Newsweek Jul 17, 1978 I 567 words I TOM NICHOLSON with DAVID T. FRIENDLY in New York
                   and bureau reports BUSINESS; Pg. 81


                   Body

                              T
                              I.I
                              •
                      ... San Francisco International A irport , among others, had it s busiest weekend in history, with
                      hour-long delays just to drive from the freeway to the term inal. Flying off in all direct ions for
                      t he Fourth of July holiday, more than 3 million Americans boa rded domestic and overseas
                      flights.... View excerpt




              70
                   ARE HOMOSEXUALS ILLEGAL ALIENS?
                   Newsweek         Aug 27, 1979 I 368 words I NATIONAL AFFA IRS ; Pg 25


                   Body

                                                i
                                                 •
                      ... The cu rrent imbroglio began in June when lmmigrat in inspectors at San Francisco
                         Internati onal A ir port detained a London antiques restorer, Carl Hill, as a homosexual. Hi ll, who
                      had fl own in for t he city's annual Gay Freedom Day parade, sued the government and beca me
                      an instant cause celebre in t he gay commun ity.... View excerpt
Case 3:24-cv-02311-TSH           Document 36-2                     Filed 09/17/24                 Page 9 of 13

               ao    THE NEWEST AMERICANS
                     Newsweek I Sep 10, 1979 I 21 36 words I DENNIS A. WILLIAMS with JERRY BUCKLEY in
                     Washington, PAMELA ELLI S SIMONS in Chicago, JEFF B. COPELAND in Denver, VINCENT
                     COPPOLA in Atlanta and bureau reports I NATIONAL AFFA IRS ; Pg. 22


                     Body


                       00
                        •
                            ... Then they are bused to motel rooms near San Francisco International A irport to await flights
                            to their new homes in every state of the Union. They emerge from the bus apprehensive ly, thei r
                            belongi ngs contained in rope-tied boxes, small suitcases or knotted bandannas, to meet
                            volunteer workers who tag t hem with t he names of thei r sponsoring agencies . ... V iew excerpt




               90
                     SAN FRANCISCO CLEARED TO HIKE ELECTRIC RATES TO
                     CUSTOMERS
                     The Wa ll Street Journal I Sep 26, 197 9 I 108 words


                     Body




                            ... THE FEDE RAL COURT OF AP PEALS RU LED FOR THE CITY AFTER SOME OF THE
                            CUSTOM ERS--PRIMARILY, SEVERAL AIRLIN ES AND OTHER TE NANTS AT SAN FRANCISCO
                            INTERNATIONAL AIRPORT , AS W ELL AS THE TURLOCK AN D MODESTO IRRIGATION
                            DI STRICTS IN CENT RAL CALIFORNIA--CHALLENG ED THE AUTHORITY OF TH E CITY'S
                            PUBLIC UTILITIES COMMI SSION TO INCREASE POWER RATES WITHOUT FE DERAL
                            A PPROVAL. ... View excerpt




              10 0
                     Traffic perils unresolved at two California airports
                     The Christian Science Monitor I Jan 21, 1980 I 587 words I By Mark Stevens, Staff correspondent
                     of The Christian Science Monitor I Pg . 12


                     Body

                                 i
                                 ....
                                  •
                            ... At San Francisco International A irport , two problems involving "counterflow" land ings and
                            t ricky "shore line takeoffs" continue to trou ble the Airline Pilots Association (A LPA). Since the
                            1978 midair collision over San Diego, no basic changes in flight patterns have been made or are
                            planned .... View excerpt




              11 0
                     GUARD IS SOUGHT IN $1.8 MILLION ROBBERY
                     The New York Times I Aug 16, 1980 I 644 w ords I By WAYNE KING, Special to the New York
                     Ti mes I Section 1; Page 6, Column 1; National Desk


                     Body


                        ~•
                            ... seized an armored truck he was supposed to be guarding at San Francisco International
                            Airport shortly after 7 t his morning, drove t o a nearby hotel where he commandeered a ca r at
                            gunpoint and then sped away with two bags containing almost $2 mil lion in cash .... View
                            excerpt
Case 3:24-cv-02311-TSH          Document 36-2                  Filed 09/17/24                Page 10 of 13


              12 0
                     NEWS SUMMARY; News Summary; SATURDAY, AUGUST 16,
                     1980
                     The New York nmes I Aug 16, 1980 I 920 words I Section 2; Page 23, Column 1; Metropolitan Desk


                     Hody




                         ... Bosque, 25 years old, identified as Brink's guard, allegedly seized an armored truck that he
                         was supposed to be guarding at the San Francisco International Airport , drove to a nearby
                         hote l. commandeered a car and sped away w ith two bags of money. (6: 1-3.)A desegregation
                         adm inistrator for the Cleveland school system was appointed by a Federal judge in response to
                         the slow pace of courtordered desegregation .... View excerpt




              13 0
                     AROUND THE NATION; Computer Student Dies After Life
                     Systems Cut Off
                     The New York Times I Aug 17, 1980 I 810 words I Special to the New York Times I Section 1; Part
                     1; Page 20, Column 5; National Desk


                     Body




                         ... Bosque had used " subterfuge" to entice his driver, Jean Marie Jean, into momentarily leaving
                         their truck yesterday at San Francisco Int ernational A irport . He then allegedly drove off and
                         switched to an automobile that he commandeered at gunpoint. The auto was later found
                         abandoned. The loot consisted of two bags of cash that were on their way to the Federa l
                            Reserve Bank of San Francisco.... V iew excerpt




              14 0
                     Brink's Guard Indicted in Theft
                     The New York nmes         Sep 13, 1980 I 73 words        UPI   Section 1, Page 7, Column 4; National Desk


                     Body
                                                                                                                     ,..
                                                                                                                     I
                                                                                                                     •
                         ... Bosque, 25 years old, had used a pistol and endangered the life of a hotel maid whose car he
                         commandeered after driving a Brink's armored truck f rom San Francisco Internat ional A ir port
                         Aug. 15. AN-A ... V iew excerpt




              15 0
                     Advertising© Gallagher Pushing Outdoor
                     The New York nmes I Sep 26, 1980 I 1001 words I Section D; Page 13, Column 3; Financial Desk


                     Body




                         ... And then, without even changing clothes in a telephone booth, off he zooms t hrough ~
                         Francisco International Airport and out into a parking lot where he makes the traditiona l
                         touchdown at the Hertz counter. The director of photography for the commercial was Denis
                         Coup, who was in cha rge of specia l effects for the " Superman" movie .... V iew excerpt
Case 3:24-cv-02311-TSH Document 36-2 Filed 09/17/24 Page 11 of 13
               16 0
                     Airlines: don't tuck loaded guns into baggage
                     The Christian Science Monitor I Dec 19, 1980 I 899 words I By Ward Morehouse Ill, Staff
                     correspondent of The Ch ristian Science Monitor I Pg. 12


                     Body




                                                                                     *
                         ... Recent surveys by the ALEA indicate that out of 18 check- in counters visited at O'Hare, only
                         five had signs; at San Francisco International Airpcrt , 24 counters were surveyed and 14 had
                         signs; at Memphis Airport only fou r of 11 counters had them; at Dallas-Fort Worth
                             Int ernationa l A irport , only one of 13 baggage check-in counters had the signs.... View excerpt




              17 0
                     SCHEDULED AIR SERVICE FROM CHINA TO U.S. RESUMES
                     The New York Times I Jan 08, 1981 I 654 words I By WALLACE TURNER I Section A; Page 16,
                     Co lumn 2; Nationa l Desk


                     Bod y



                             •
                         ... Schedu led passenger airline service between Ch ina and the United States was restored
                         t oday after a 32-yea r hiatus when a Boeing747 with 139 Chinese passengers arrived exact ly
                         on time at San Francisco Internationa l Airport . Mayor Dianne Feinstein and Consul General
                         Hu Ding-yi held a ribboncutting ceremony, which included a cake, decorated w ith "CAAC
                         Welcome to San Francisco," and t wo bottles of champagne . ... View excerpt




              18 0
                     Anchorman Faces Driving Count
                     The New York Times         Feb 10, 198 1 I 69 words      UPI    Section B; Page 19, Column 2; National
                     Desk


                     Body

                                                                T
                                                                 *
                         ... Kuralt, 46 years old, the former roving correspondent who is now a television anchorman for
                         CBS News, was stopped at 12:10 AM . yesterday near the San Francisco International Airport
                         and arrested for "misdemeanor driving while intoxicated," a Highway Patrol spokesman said.
                         CBS News anchorman Charles Kuralt faces drunken driving charge after being arrested nea r
                         San Francisco ( Calif ) International A irport ... V iew excerpt




              19 0
                     SAN FRANCISCO UPSET BY TOURISM DECLINE
                     The New York Times I May 10, 1981 I 796 words I By WALLACE TURN ER, Special to the New York
                     Ti mes Section 1; Part 1, Page 19, Column 1; National Desk


                     Body

                                                      ii....
                                                       •
                         ... Fewer Airline Passengers A spokesman for the city's airport commission said airl ine
                         passenger t raffic had decl ined by 8.4 percent at San Francisco International Airport . There
                         were 21.6 mil lion arrivals in the 12 months ending March 31, 1981, as against 23.6 million in
                         the preceding 12 mont hs. Major airlines have cut back flight s by almost 6 percent. ... V iew
                         excer pt
Case 3:24-cv-02311-TSH          Document 36-2                  Filed 09/17/24                Page 12 of 13

              20 0
                     Jerseyan Held on Coast For Smuggling of Heroin
                     The New York Times I May 26, 1981          182 words     UPI    Section B; Page 5, Column 5; Metropolitan
                     Desk


                     Body

                                                     ]
                                                      *
                         ... , arrived at San Francisco International Airport around 1 P.M. yesterday on a flight from
                         Hong Kong, according to M ike Fleming, a customs spokesman. Antonino Datto lo, New Jersey
                         rest aurant owner, is arrested in San Francisco while attempting to smuggle over nine pounds of
                         heroin No prior information on Mr.... V iew excerpt




              21 0
                     WHAT'S DOING IN CALIFORNIA WINE COUNTRY
                     The New York Times I May 31 , 1981         2464 words     Section 10; Page 11 , Column 1; Travel Desk


                     Body

                                        ]
                                         *
                         ... HOW TO GET THERE - The closest commmercial airline service is provided at San Francisco
                            International Airport and, across t he Bay, at Oakland International Airport. Several companies
                         conduct guided tours of t he w ine country from San Francisco. Gray Line Tours (415-771-4000)
                         offers a nine-hou r tour that includes visits to two wineries (Christian Brothers and Sebastiani)
                         and lunch for $29.50.... View excerpt




              22 0
                     Airport check stems flow of fruit from California
                     The Christian Science Monitor I Aug 03, 1981 I 98 words WITH ANALYSIS FROM MONITOR
                     CORRESPONDENTS AROUND THE WORLD , EDITED BY CLARA GERMANI I The News Briefly;
                     Pg 2


                     Body




                         ... Inspectors are conducting surprise sea rches of airline employees at San Francisco
                            International Airport to prevent them from carrying out fru it from the Santa Clara Valley ,
                         quarantined because of a Mediterranean fruit fly infestation. Inspectors have confiscated tons
                         of fruit from passengers routinely checked at t he airport, and 9 of t he first 32 flight attendants
                         and pilots searched in the special inspections were carrying fruit. ... View excerpt




              23 0
                     SUSPECT IN BRINK'S ROBBERY MISSING FULL YEAR
                     The New York Times        Aug 16, 1981 I 564 words       AP    Section 1; Part 1; Page 24, Column 1,
                     National Desk


                     Body


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                         ... Bosque and a driver arr ived in an armored truck at San Francisco International Ai rport .
                         They picked up a money shipment from Honolulu. Driver Sent Away From Truck After loading
                         sacks for the Federal Reserve Bank, Mr. Bosque told the driver that an airline officia l wanted to
                         speak to him, the bureau says .... V iew excerpt
Source Description
 Case 3:24-cv-02311-TSH                                    Document 36-2                       Filed 09/17/24                                X
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